         Case 3:18-cv-00110-JCH Document 65 Filed 03/23/18 Page 1 of 21



                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

                                                x

JOHN DOE,                                           Civil Action No.: 3:18-cv-00110-JCH

                      Plaintiff,
►~~

YALE UNIVERSITY, ET AL.

                      Defendants
                                                x March 23, 2018

      MEMORANDUM OF LAW IN SUPPORT OF SALLY ROE'S MOTION TO QUASH
          SUBPOENA DUCES TECUM AND FOR A PROTECTIVE ORDER

        Sally Roe ("Roe"), anon-party witness, submits this memorandum of law in

support of her motion to quash the subpoena duces tecum, dated March 5, 2018 (the

"subpoena"), for the production of documents on March 26, 2018, and for a protective

order with respect to her deposition on April 5, 2018. (A redacted copy of the subpoena

is attached hereto as Exhibit A.) The subpoena was served on Roe on March 7, 2018.

I.      BACKGROUND

        The plaintiff, John Doe ("plaintiff"), commenced this action against the

defendants, Yale University ("Yale") and Yale University Board of Trustees (the "Board")

(collectively, "defendants"), alleging, inter alia, violations of Title IX of the Education

Amendments of 1972, 20 U.S.C. § 1681 et seq.; breach of contract; invasion of privacy

(violation of confidentiality and false light); and estoppel and reliance. These claims are

based on the allegedly improper procedures employed and actions taken by defendants

against the plaintiff, a male student at Yale, as a result of allegations of "groping" and
        Case 3:18-cv-00110-JCH Document 65 Filed 03/23/18 Page 2 of 21




"creating a hostile academic environment" made by two female Yale students, Jane Roe

and Sally Roe.'

      The subpoena seeks, inter alia, the production of the following:

      1. Any and all documents concerning or consisting of communications in your
      possession, custody or control, including but not limited to correspondence
      through text messages, instant messaging messages, e-mails and/or through
      any social media platform (e.g., Facebook, Instagram, Snapchat, etc.), between
      you and [Jane Roe] concerning Plaintiff John Doe and/or your allegations against
      Mr. Doe and/or the manner in which Yale University handled or addressed your
      allegations, the investigation and/or the hearing process, from June 1, 2016 to
      the present.

      2. Any and all documents concerning or consisting of communications in your
      possession, custody or control, including but not limited to correspondence
      through text messages, instant messaging messages, e-mails and/or through
      any social media plafiform (e.g., Facebook, Instagram, Snapchat, etc.), between
      you and any person concerning Plaintiff John Doe and/or your allegations against
      Mr. Doe and/or the manner in which Yale University handled or addressed your
      allegations, the investigation and/or the hearing process, from June 1, 2016 to
      the present.

      3. Please provide an executed HIPAA Release Form for the release of your
      medical records for any and all medical care providers whom you saw for
      treatment in connection with sadness, stress, anxiety, weight loss, depression
      and/or any other effects of having been exposed to Mr. Doe's alleged conduct.

      4. Any and all documents in your possession, custody or control concerning or
      consisting of any effort by any person to identify Plaintiff John Doe as having
      engaged in sexual harassment, sexual assault or sexual misconduct of any kind
      or that he is/was unsafe or dangerous in any way as indicated in any formal or
      informal "whisper campaign," "whisper network", "black" list or otherwise.

      In a footnote to request number 3, the plaintiff indicates that "[a] sample HIPAA

Release Form is enclosed herewith for your convenience." Subpoena, fn. 1. The




~ The female students are identified in the Complaint by the pseudonyms, Jane Roe and
Sally Roe, which pseudonyms are used in this motion. According to the Complaint, the
allegation of "creating a hostile academic environment" was as to Jane Roe only.
Complaint, ¶1.
                                           2
        Case 3:18-cv-00110-JCH Document 65 Filed 03/23/18 Page 3 of 21




attached form contains the notation: "Seeking Behavior/Mental Health/Psychiatric only."

See, Exhibit A.

       Roe has objected to these requests and now moves to quash the subpoena on

the grounds that all of the requests are overly broad, unduly burdensome, seek

materials that are not relevant to any party's claims or defenses, and may impose

significant expense on Roe, a college student, resulting from compliance, and because

request number 3 seeks disclosure of private and privileged materials when there has

been no waiver of any rights or privilege and no exception to the privileges applies. Roe

also moves for a protective order precluding the plaintiff from questioning her at her

deposition about these communications and her medical care.

II.    ARGUMENT

      A. The subpoena shou{d be quashed because it is overly broad, unduly
      burdensome,seeks information that is not relevant, and may impose
      significant expense on Roe, a college student, resulting from compliance.

             i. Legal Standards

      "Any subpoena that is issued to non-parties pursuant to Rule 45 is `subject to

Rule 26(b)(1)'s overriding relevance requirement."' Addona v. Parker Hannifin Corp.,

2014 WL 788946, at *1 (D. Conn. Feb. 25, 2014). Rule 26(b)(1) of the Federal Rules of

Civil Procedure sets forth the scope and limitations of permissible discovery:

      Unless otherwise limited by court order, the scope of discovery is as follows:
      Parties may obtain discovery regarding any nonprivileged matter that is relevant
      to any party's claim or defense and proportional to the needs of the case,
      considering the importance of the issues at stake in the action, the amount in
      controversy, the parties' relative access to relevant information, the parties'
      resources, the importance of the discovery in resolving the issues, and whether
      the burden or expense of the proposed discovery outweighs its likely benefit.




                                            3
         Case 3:18-cv-00110-JCH Document 65 Filed 03/23/18 Page 4 of 21




Fed. R. Civ. P. 26(b)(1). Under Rule 401 of the Federal Rules of Evidence, "Evidence is

relevant if: (a) it has any tendency to make a fact more or less probable than it would be

without the evidence; and (b) the fact is of consequence in determining the action." Fed.

R. Evid. 401. If evidence is of no consequence in determining the action, then it is not

relevant and it is not discoverable.

       In addition, in determining whether to allow discovery, the court must determine

that the discovery sought is proportional to the needs of the case. This involves

weighing the interests of the parties and non-parties to determine whether discovery,

even if it seeks information that is relevant, should be allowed to proceed. See, Fed. R.

Civ. P. 26(b)(1).

       In Tucker v. American International Group, Inc , 281 F.R.D. 85, 92(D. Conn.

March 15, 2012), the court held:

       With respect to non-parties in particular, although "[t]he permissible scope of
       discovery from anon-party is generally the same as that applicable to discovery
       sought from parties[,] ... [t]he burden on the party from which discovery is sought
       m ust, of course, be balanced against the need for the information sought."

Id. at 92 (citation omitted). Furthermore, "In performing such a balance, courts have

considered the fact that discovery is being sought from a third ornon-party, which

weighs against permitting discovery." Id. (emphasis in original)(citing, Medical

Components, Inc. v. Classic Medical, Inc., 210 F.R.D. 175, 180 n. 9(M.D.N.C.

2002)("The current generally prevailing view is that the Court may first consider

whether information should be obtained by direct discovery from a party, as opposed to

from anon-party, and that the court should give special weight to the unwanted burden

thrust upon non-parties when evaluating the balance of competing needs."))(Other

citations omitted).
         Case 3:18-cv-00110-JCH Document 65 Filed 03/23/18 Page 5 of 21




       The court in Tucker also noted that within the Second Circuit, "courts have held

 nonparty status to be a `significant' factor in determining whether discovery is unduly

burdensome." Id. (citing, Solarex Corp. v. Arco Solar, Inc., 121 F.R.D. 163, 179

(E.D.N.Y.198$), affd, 870 F.2d 642 (Fed.Cir.1989)("Of significance, ... in balancing the

competing hardships, is the Society's status as a non-party to this litigation. Under the

authorities, this factor is significant in `determining whether compliance [with a discovery

demand] would constitute an undue burden."')).

       As the court in Tucker stated,

      [B]y its terms, Rule 45(c)(2)(B)(ii) mandates that courts protect third parties from
       onerous discovery requests. That provision states that, when "the serving party
       ... move[s] the issuing court for an order compelling production or inspection"
      from anon-party, "[t]hese acts may be required only as directed in the order, and
      the order must protect a person who is neither a party nor a party's officer from
      significant expense resulting from compliance." Fed. R. Civ. P. 45(c)(2)(B)(ii)
      (emphasis added). Courts have relied on such language to protect non-parties
      from "significant expense" arising from document production. See, te c ., Jackson
       v. AFSCME Local 196, 246 F.R.D. 410, 413(D.Conn. 2007)(Hall, J.)(ordering
       plaintiff to pay expenses of non-party in complying with discovery request to
      gather electronic records); Honda Lease Trust v. Middlesex Mut. Assur. Co., No.
      3:05CV1426(RNC), 2008 WL 349239, at *5(D.Conn. Feb. 6, 2008)(Chatigny,
      J.)(instructing third party witness to seek an agreement with plaintiffs [sic]
      counsel regarding reasonable reimbursement of his expense, if "significant," in
       inspection and copying of documents per plaintiffs discovery request; otherwise,
      "he may move for reimbursement of some or all of those costs"); Florida Software
      Systems, Inc. v. Columbia/HCA Healthcare Corp., No. 99—MC-0036E, 2002 WL
      1020777(W.D.N.Y., Feb. 25, 2002)(quoting Fed. R. Civ. P. 45(c)(2)(B))("[a]n
      order compelling production pursuant to a subpoena duces tecum `shall protect
      any person who is not a party or an officer of a party from significant expense
      resulting from the inspection and copying."').

Id.(emphasis in original).

       ii. Discussion

       In this case, the subpoena is overly broad, unduly burdensome, seeks

information that is not relevant, and may impose significant expense on Roe, a college



                                            5
        Case 3:18-cv-00110-JCH Document 65 Filed 03/23/18 Page 6 of 21




student, resulting from her compliance. The plaintiff's claims challenge the alleged

actions and procedures of the defendants, not Roe. More specifically, the plaintiff

challenges the policies and procedures of Yale and the Board, asserting that:

      The procedural errors that prevented the hearing panel or decision maker from
      judging the matter fairly included:

     (1) a lack of due process by allowing the Complainants to hear each other's
     testimonies;

     (2)the constitutional violation of dismissing the Complainants' texting during the
      hearing and placing the burden of proof on John Doe to prove that collusion had
      occurred;

     (3) conflicts of interest that resulted in a biased adjudication;

     (4) lack of an official record of the hearing;

     (5)the failure to properly investigate and collect all available evidence;

     (6)the failure to thoroughly interview all relevant witnesses;

     (7)the complete disregard of contradictions and inconsistencies in the
      Complainants' and witnesses' statements when making assessments of fact and
      credibility;

     (8)the improper inclusion of information in the Fact-Finder's report which the
      hearing panel and decision maker relied upon as a determination of John Doe's
      responsibility;

     (9)failure of[Yale] to demonstrate a burden of proof using the preponderance of
      the evidence standard;

     (10)failure to define the policy violation;

     (11) lack of a rationale for the Decision and Sanction; and,

     (12) the imposition of an unduly harsh and unwarranted sanction of suspension.
     All of these procedural errors, individually and when taken together, unfairly and
      materially affected the outcome of John Doe's case.

Complaint, ¶169.




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        Case 3:18-cv-00110-JCH Document 65 Filed 03/23/18 Page 7 of 21




       Although the plaintiff devotes more than five pages in his Complaint to setting

forth the nature of the allegedly false "groping" claims made against the plaintiff, to Yale,

by Roe and her fellow student; see, Complaint ¶¶ 95-128; the causes of action in

Counts I through V are all grounded upon the alleged actions taken and procedures

followed by Yale in response to those claims. Roe is not named as an additional

defendant in this matter. Consequently, Roe's communications and conduct before,

during, and after the plaintiff's hearing, as well as the veracity of Roe's underlying

complaint to Yale, are irrelevant to the question of whether the policies and procedures

employed by the defendants against the plaintiff were substantially unfair, such that the

plaintiff's rights were violated. An action grounded in Title IX of the Education

Amendments of 1972 is not a trial de novo on the underlying complaint filed by Roe.

See, Doe v. Univ. of the South, 687 F. Supp. 2d 744 (E.D. Tenn. 2009)(citing, Gomes

v. Univ. of Maine Sys., 365 F. Supp. 2d 6(D. Maine 2005)("This Court's review is

substantially circumscribed; the law does not allow this Court to retry the University's

disciplinary proceeding."); see also, Stenzel v. Peterson, 2017 WL 4081897(D. Minn.

2017)(same).

       In a case involving claims very similar to those in the present action, Xiaolu Peter

Yu v. Vassar College, 97 F. Supp. 3d 448 (S.D.N.Y. 2015), the court stated,

      The Court's role, of course, is neither to advocate for best practices or policies
      nor to retry disciplinary proceedings. Here, the sole questions before the Court
      are whether when Vassar College expelled Peter Yu for sexually assaulting a
      fellow student, it discriminated against him based on his gender in violation of
      Title IX, or otherwise violated a provision of state law."

Id. at 461 (citing Doe v. Univ. of the South).




                                             7
        Case 3:18-cv-00110-JCH Document 65 Filed 03/23/18 Page 8 of 21




       Preliminarily, Roe submits that any communications that occurred after the

hearing on November 27, 2017(Complaint, ¶5), cannot possibly be relevant to the

issues raised in the Complaint, which concern actions that occurred and procedures

that were followed before or during the hearing. Moreover, the only communications

involving Roe that are relevant to the issues raised in the Complaint are those that were

submitted and/or considered in conjunction with the hearing and the decision to

suspend John Doe. Those documents should already be in the possession of the

plaintiff or would be available, if appropriate, from the defendants. There is no reason to

impose the burden on Roe to reproduce documents already in the possession of one or

more parties to this action. This is particularly true with respect to electronically stored

information that is no longer readily available to Roe on devices that she owns or has

ready access to.

      The plaintiff's request for an authorization to obtain Roe's private and confidential

medical records also seeks irrelevant information. Roe is not asserting a claim for

damages as a result of "treatment in connection with sadness, stress, anxiety, weight

loss, depression and/or any other effects of having been exposed to Mr. Doe's alleged

conduct." See subpoena, Exhibit A, document request no. 3. These records, if any

exist, are of no consequence in determining whether the defendants' actions and/or

procedures were fair, or whether the defendants breached any contract with the plaintiff

or invaded his privacy. Consequently, these confidential medical records have no

relevance to the claims in this action.

      Alternatively, should the court find that any of the requested documents bear

some relevance to the issues in the action, then Roe submits that the court should apply


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        Case 3:18-cv-00110-JCH Document 65 Filed 03/23/18 Page 9 of 21




the proportionality test set forth in Federal Rules of Civil Procedure 26(b)(1). Weighing

any need the plaintiff might have to these records against the significant burden that will

be imposed on Roe and her right to privacy with respect to her health care information,

the balance clearly tips in favor of Roe, especially when taking into account Roe's status

as a non-party.



       B. The Subpoena should be quashed because request number 3 violates
       Roe's personal privacy rights and seeks disclosure of confidential and
       privileged health care information.

       i. Legal Standards

       Rule 45(c)(3)(A) of the Federal Rules of Civil Procedure provides that "[o]n timely

motion, the court by which a subpoena was issued shall quash or modify the subpoena

if it . . . (iii) requires disclosure of privileged or other protected matter and no exception

or waiver applies." Rule 501 of the Federal Rules of Evidence states that, in general,

privileges are interpreted pursuant to federal common law, except that "in a civil case,

state law governs privilege regarding a claim or defense for which state law supplies the

rule of decision." See Fed. R. Evid. 501.

       The information sought in request number 3 constitutes protected health

i nformation, which is protected from disclosure by HIPAA. 42 U.S.C. § 1320d, et seq. In

addition, the Supreme Court of the United States has recognized a psychotherapist-

patient privilege. In Jaffee v. Redmond, 518 U.S. 1 (1996), the Supreme Court held that

"confidential communications between a licensed psychotherapist and her patients in

the course of diagnosis or treatment are protected from compelled disclosure under

Rule 501 of the Federal Rules of Evidence. Id. at 15. The privilege protects



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       Case 3:18-cv-00110-JCH Document 65 Filed 03/23/18 Page 10 of 21




communications with licensed psychiatrists, psychologists, and social workers. Id. The

notes taken by the psychotherapist during counseling sessions also are protected from

compelled disclosure. Id. at 18. This privilege is "rooted in the imperative need for

confidence and trust" between the patient and the psychotherapist. Id. at 11.

       This court has recognized that this privilege is "designed to avoid deterring

people from seeking treatment for fear that they will suffer a disadvantage in later

litigation." Jacobs v. Connecticut Cmty. Tech. Colleges, 258 F.R.D. 192, 195(D. Conn.

2009). In Jacobs, this court discussed the two views of waiver of the psychotherapist

privilege, noting that the Second Circuit had adopted the "narrow" view of waiver under

which "a plaintiff is not deemed to have waived the privilege by alleging only `garden

variety' emotional distress." Id. at 195 (citing, Sims v. Blot, 534 F.3d 117(2d. Cir.

2008)). In Sims, the Second Circuit, in adopting the "narrow" view of waiver, expressed

its agreement that

      a plaintiff does not forfeit his psychotherapist-patient privilege merely by
      asserting a claim for injuries that do not include emotional damage; that a plaintiff
      does not forfeit that privilege by merely stating that he suffers from a condition
      such as depression or anxiety for which he does not seek damages; that a
      plaintiff may withdraw or formally abandon all claims for emotional distress in
      order to avoid forfeiting his psychotherapist-patient privilege; and that a party's
      psychotherapist-patient privilege is not overcome when his mental state is put in
      issue only by a another party.

d. at 134.

      This court also has acknowledged that "the Second Circuit has repeatedly

recognized a constitutionally protected right to privacy in medical records." Doe v. Town

of Madison, 2010 WL 3829186 (D. Conn. September 22, 2010)(citing O'Connor

v. Pierson, 426 F.3d 187, 201 (2d Cir.2005)("[W]e easily hold that O'Connor had a




                                             10
       Case 3:18-cv-00110-JCH Document 65 Filed 03/23/18 Page 11 of 21




protected privacy right in the medical records sought by the Board.")). In Doe v. City of

New York, 15 F.3d 264 (2d. Cir. 1994), the Second Circuit held,

       We agree that the right to confidentiality includes the right to protection regarding
       information about the state of one's health.

       Extension of the right to confidentiality to personal medical information
       recognizes there are few matters that are quite so personal as the status of one's
       health, and few matters the dissemination of which one would prefer to maintain
       greater control over.

Id. at 267.

       Similarly, under state law, Connecticut recognizes aphysician-patient privilege

that prohibits a physician, surgeon or health care provider from disclosing "(1) any

communication made to him or her by, or any information obtained by him or her from, a

patient . . .with respect to any actual or supposed . . .mental disease or disorder, or (2)

any information obtained by personal examination of a patient, unless the patient . . .

explicitly consents to such disclosure." Conn. Gen. Stat. § 52-1460.

       Connecticut also has a broad psychiatrist-patient privilege that protects the

confidential communications or records of a patient seeking diagnosis and treatment.

This privilege protects not only communications between the patient and psychiatrist,

but also all communications relating to the patient's mental condition between the

patient's family and the psychiatrist, or between any such persons and a person

participating under the supervision of a psychiatrist in the patient's diagnosis and

treatment, wherever made. See, Conn. Gen. Stat. §§ 52-146d to 52-146i. Likewise,

communications between a psychologist and a patient are protected from disclosure

under Connecticut law. See, Conn. Gen. Stat. §52-146c.




                                            11
       Case 3:18-cv-00110-JCH Document 65 Filed 03/23/18 Page 12 of 21




       ii. Discussion

       If a plaintiff, who seeks damages from a defendant, does not waive his

psychotherapist-patient privilege by asserting a garden variety emotional distress claim

or by stating that he suffers from conditions such as depression or anxiety, then

certainly Roe has not waived this privilege. Roe is not seeking any damages, and she

has not asserted any claim in this lawsuit. She certainly has not waived her

psychotherapist-patient privilege merely because she may have received treatment for

"sadness, stress, anxiety, weight loss, depression or any other effects of having been

exposed to Mr. Doe's alleged conduct." Likewise, Roe has not authorized and does not

consent to the disclosure of any information that is protected from disclosure under

HIPAA or Connecticut law, and she has not waived any of these rights or privileges.

       Consequently, Roe's medical records related to any "treatment in connection with

sadness, stress, anxiety, weight loss, depression and/or any other effects of having

been exposed to Mr. Doe's alleged conduct," particularly "behavior/mental health/[and]

psychiatric" records, are protected from disclosure by both federal and state law.



       C. The court should enter a protective order to prevent the plaintiff from
       examining Roe at her deposition concerning any treatment for her mental
       or physical health.

       For all the reasons discussed above, and because Roe has not waived her right

to privacy with respect to any "treatment in connection with sadness, stress, anxiety,

weight loss, depression and/or any other effects of having been exposed to Mr. Doe's

alleged conduct," including treatment for "behavior/mental health/[and] psychiatric"

conditions, the court should enter a protective order prohibiting the plaintiff(and the



                                            12
       Case 3:18-cv-00110-JCH Document 65 Filed 03/23/18 Page 13 of 21




defendants)from questioning her about her mental or physical health and any treatment

related thereto. As discussed above, Roe has a right to privacy, which she has not

waived. Also, her communications with her health care providers are privileged, and

she has not waived those privileges. Finally, her mental and physical health are not

relevant to any party's claims or defenses in this action.



III.   CONCLUSION

       For the reasons set forth herein, Roe respectfully requests the court to grant this

motion to quash the subpoena duces tecum and to enter a protective order in her favor.




Dated:March 23, 2018                         THE MOVANT,
      New Haven, Connecticut                 SALLY ROE


                                          By: /s/ Peter T. Fay
                                             Peter T. Fay (ct08122)
                                              NEUBERT, PEPE & MONTEITH, P.C.
                                              195 Church Street, 13th Floor
                                              New Haven, Connecticut 06510
                                             (203)821-2000
                                              pfay@npmlaw.com




                                            13
        Case 3:18-cv-00110-JCH Document 65 Filed 03/23/18 Page 14 of 21




                                      CERTIFICATION

         hereby certify that on March 23, 2018, a copy of the foregoing was filed
electronically. Notice of this filing will be sent by e-mail to all parties by operation of the
Court's electronic filing system or by mail to anyone unable to accept electronic filing.
Parties may access this filing through the Court's system.


                                                      /s/ Peter T. Fay
                                                    Peter T. Fay
                                                    NEUBERT, PEPE & MONTEITH, P.C.




                                               14
Case 3:18-cv-00110-JCH Document 65 Filed 03/23/18 Page 15 of 21




                        EXHIBIT A
              Case 3:18-cv-00110-JCH Document 65 Filed 03/23/18 Page 16 of 21




JOHN I~C}E,                                                                             S'UIiP+QEI~+IIA 1)u~a~s ~'ec•~~
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Connecticut 06460

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 ISSUING OF ICER'S NAME, AC~DRESS AND PHONE NUM6EFt AND EMAIL:
 Robert M. Fleischer, Fleischer Law, LLC, 12 Centennial Drive, Milford, GT 06461;(~03)283 3369; robf~a ctnylaw.com
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Inquiries regarding the subpoena may be directed tt~:
                S~►san R. Kaplan, Esq.
                The Kaplan La~~ Office
                3Q Wall Street, 18t~' Floor
                New fork, NY l ~O1~5
                Tel: (347) 683-2505
                Email: skaplan(c_7~.,la~~Tl~aplan.cc~m
                    Case 3:18-cv-00110-JCH Document 65 Filed 03/23/18 Page 17 of 21

AO 88B (Itev. 02/14) Subpoena to Produce Documents,:Information, or Ot~jects or to :Permit Inspection of Premises in a Civil Action (Page 2)


Civil Action No.

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                    (This section should not befiled with the court unless required by Feel. R. Civ. P. 45.)

            I received this subpoena for ~,~a~~~c ofirzdivi~ual grid title, if~a►~,~)
on (date)



            Q I served the subpoena by delivering a copy to the Warned person as Follows:


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            f~ I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, 1 have also
            tendered to the witness the tees for one day's attendance, and the mileage allowed by law, in the amount of
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My fees are $                                       for travel and $                              for services, for a total of $                  0.00



            1 declare under penalty of perjury that this information is true.


Date:
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Additional information regarding attempted service, etc.:
                    Case 3:18-cv-00110-JCH Document 65 Filed 03/23/18 Page 18 of 21

f\O 88B (Rev. 02/14)Subpoena tc~ Produce Documents,[nformation, or Objects or to Permit Inspection oi' P►emises ir► a Civil /lcticm(Pa~e 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Eft'ective 1.2/1/13)
(c) Flace of Compliance.                                                                 (ii) disclosing an unretained expert's opinion ur information that does
                                                                                    nol describe specif c occiurences in dispute and results from the expert's
  (1) For a Trial, Heari~zg, or Depositiare. A subpoena may command                 study that vas not rec7uested by a party.
person to attend a trial, hearing, ur deposition only as 1i>llows:                     (C) Specifying Conditio~~s ar an.4lter~~ative. In the circumstances
   (.4) within 100 miles of~vhere the person re;sicles, is employed, car            descrihed in Rule 45(d)(3)(B), t1~e court rnay, instead of quashing ~~r
regularly tr~uisacts business in person; or                                         mc~difyiitg t~ subpoena, <~rder appearance or ~roduciion irnd~r specitieci
   (B) within the state where the person resides, is employed, or regularly         conditions if the serving party:
transacts butiiness in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party's officer; or                                       otherwise met without ~uidue hardship; and
      (ii) is commanded to attend a trial and ~~~ould not incur suhstantial              (ii) ensiues that the subpoenaed person will b~ reasonably compensated.
expense.
                                                                                    (e) Duties in Responding io a Subpoena.
 (2) For Otlrer Discovery. A subpoena may command:
  (~1) production c>f documents, electronically stored infi>rmation, or               (1) Producing Documents or E/ectroiticall~~ Store~llnformatiori. These
tangible things at a place within l0U miles of'where the person resides, is         procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                            information:
  (B) inspection. ofpremises at the premises to be inspected.                          (A) Docr~ments. A person responding to a subpoena to produce documents
                                                                                    must produce them as They are kept in the i>rdinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                         must organize and label them to correspond to the categories in the dc;mand.
                                                                                        (H) f~~or~n fa- f'roducir~x f lectro~~ically Stored Ire%~~muliun ;'~%ol S~~eci~ed.
 (I) Avoiding Z/ridue Bccrden or Expense; Sanctions. A party or attorney            lt'a subpoena does not specify a form for prodnc n`, e(ectronicall~~ stored
responsible t~~r issuing and ser~~ing a subpoena rust take reasonable steps         intorrnation, the person. responding must produce it in a form or f~~rtns in
to avoid irnpc~sing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable for~7~ or f~~rms.
subpoena. 'Lhe court fur the district ~i-here compliance is required must               ((.') F.lect~~onic~lly Stored InJorma~iort Produced in Or~lti~ One Form. The
enforce this duty and impose an apprvp.riate sanction—which may include             persi~n respc~ndin~ need no[ produce the same electronically stored
lost zarnings and reasonable attorney"s fees—on a party or attorney ~~•ho           inf~umation in more than one form.
fails to comply.                                                                        (D) /~~accessible f;'lectro,~iccrlly.ti'tored LnJorr~zatiasz The person
                                                                                    responding need not provide discovery of electronically stored information
  (2) Command to Produce Materials or Permit Inspection.                             from. sotuces that the person identities as ilot reasonably accessible because
    (A) ~~ppearance ~Vot Required. A person commanded to produce                     of undue burden or cost. On motion. to compel discovery or f'or a protective
dt~cuments, clectr<~nicall~~ stored inf~~rn~atic~n, or tangible things; or to        order, the persoai respc~ndin~~ must show that the int~~rrnation is not
permit the inspectian oPpremises, need not appear in per~i>n at the place cif        reasonably accessible because of undue burden. or cost. If that sho~~~ing i.s
production or inspection unless also commanded to appear (or a deposition,           made; the court ma~~ no»etheless order discovery from such sources if the
hearing, or trial.                                                                   requesting party shows ac~od cause, considering the (imitations of Rule
    (li) O~jeetiorrs. A person. commanded to produce documents or tangible           2(i(b)(2)(C'). ']'he court may specify conditic~us for the discovery.
things or to permit inspection may serve on the party or attorney desig»ated
in the subpoena a ~~~ritten objection. to inspecting, copying, testing; or           (2) Cl~iiming Privilege nr Protection.
sampling any ur all of the materials or to inspecting the premises—ter to              (A) l~fnrmcr~ron ~~'rl{~held !A Person withholding subpoenaed inf<~rn~atic~n
producing electronically stored information in the farm or forms requested.          under a claim that it is Privileged or subject to protection as trial-preParatic>n
"I~he objection must be served before the earlier ot~the time specified for          material must:
compliance or 14 days after the subpoena is served. If a~1 objection is made,            (i) expressly make the claim; and
the follo~~ing rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
       (i) At~ any time. on notice l~o the commanded person, the serving party       tangible things in a manner that, «~ithout revealing information itself'
may move the court for the district ~~~here compliancy is required fi r an           privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                             (K) !r~%rmalron P~~oduced. If information produced in response to a
       (ii) 'These acts niay be required only as directed in tl~e order, and the     sub~~oena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from        trial-preparation material, the person making the claim maV i~oti~~ any party
 significant expense resulting from compliance.                                      that received the i~iformation of the claim and the basis for it. After being
                                                                                     notiYied, a party must promptly return, sequester, or destroy the specified
   (3) Quushireg or Mo~lifj~ing a Sc~hpoena.                                         i»f~~rn~atioi~ and and copies it has; must not use or disclose the infiormation
     (:~) N~hen IZequirec~ On timely motion, the court for the district where        until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required mast quash or modify a subpoena that:                        inf~~rniation if the party disclosed it be#ore being notified: and ma~~ promptly
        (i) tails to 1ll0~~• a reasonable time to comply;                            present the inforn~ation under seal to tJ~e court for the district where
        (ii) requires a person to i;omply beyond the geographical limits             compliance is required for a determination ofthe claim. "I'he person who
 specified in Rule 45(c);                                                             produced the information must preserve the information until the claim is
        (iii) rewires disclosure of privileged or other protected matter, it~no      resolved.
 exception or waiver applies; or
        (iv) subjects a person to undue burden.                                      (g) C:untempt.
    (R) i~4'he~~ Permitted. To protect a pf;rsott subject to or ~ffectect b~~ a      "1he court t~~r the district where compliance i5 required—and also, after a
 subpoena, the cc~urf Por t]~e district where complit~lce is required may, on        motion is transferred, the issuing court—may hold in contempt a person
 motion, quash ~,r modify the subpoena if is requires:                                ~r~lio; laving bee❑ served, fails ~~ithout adequate excuse to obe~~ the
         (i) disclosing a trade secret or other confidential research,                subpoena or au order related to it.
 cievelopmc,it, or commercial information; or



                                          For access to subpoena. materials, see Fed. R. Civ. N. 4.5(a) Committee Ncite (2013 ).
    Case 3:18-cv-00110-JCH Document 65 Filed 03/23/18 Page 19 of 21




                                     SCHEDULE A
                                To Subpoena Duces Tecum


I. DEFINITIONS:
     The following definitions apply to the documents requested by this subpoena:

     A.   "You" or "your" means

     B.   "Plaintiff' means John Doe,from the above-captioned action.

     C.   "Document" is synonymous in meaning and equal in scope to the usage of the term

          in Fed. R. Civ. P. 34(a), including, without limitation, electronic or computerized

          data compilations and incorporates "correspondence" as defined below. A draft or

          non-identical copy is a separate document within the meaning of this term.

     D.   "Correspondence" means any letter, memorandum, note, e-mail message (on

          personal and Yale networks), instant message, or written, electronic, computer

          generated or other document concerning a communication.

     E.   "Concerning" means in connection with, relating to, referring to, describing,

          evidencing and/or constituting.

     F.   "Person" means any natural person or any business, legal or governmental entity or

           association.

     G.   "Possession," "custody" or "control" includes constructive possession such that a

           person or entity need not have actual physical possession. The person or entity has

           possession, custody or control as long as the person or entity has a superior right to

           compel the production from a third party (including an agency, authority or

           representative).



                                      [continued on next page]
     Case 3:18-cv-00110-JCH Document 65 Filed 03/23/18 Page 20 of 21




      H.   "All/Each." The terms "all" and "each" mean all and each. "And/Or." The

           connectives "and" and "or" mean either conjunctively or disjunctively as necessary

           to bring within the scope of the discovery request all responses that otherwise might

           be construed to be outside of its scope.

II. DOCUMENTS REQUESTED:
       1. Any and all documents concerning or consisting of communications in your
          possession, custody or control, including but not limited to correspondence through
          text messages, instant messaging messages, e-mails and/or through any social media
            latform (e.g., Facebook, Instagram, Snapchat, etc.), between. you and _
                  concerning Plaintiff John Doe and/or your allegations against Mr. Doe and/or
          the manner in which Yale University handled or addressed your allegations, the
          investigation and/or the hearing process, from June 1, 2016 to the present.

       2. Any and all documents concerning or consisting of communications in your
          possession, custody or control, including but not limited to correspondence through
          text messages, instant messaging messages, e-mails and/or through any social media
          platform (e.g., Facebook, Instagram, Snapchat, etc.), between you and any person
          concerning Plaintiff John Doe and/or your allegations against Mr. Doe and/or the
          manner in which Yale University handled or addressed your allegations, the
          investigation and/or the hearing process, from June 1, 2016 to the present.

       3. Please provide an executed HIPAA Release Form for the release of your medical
          records for any and all medical care providers whom you saw for treatment in
          connection with sadness, stress, anxiety, weight loss, depression and/or any other
          effects of having been exposed to Mr. Doe's alleged conduct.l

       4. Any and all documents in your possession, custody or control concerning or
          consisting of any effort by any person to identify Plaintiff John Doe as having
          engaged in sexual harassment, sexual assault or sexual misconduct of any kind or
          that he is/was unsafe or dangerous in any way as indicated in any formal or informal
          "whisper campaign," "whisper network","black" list or otherwise.




1 A sample HIPAA Release Form is enclosed herewith for your convenience.
                         Case 3:18-cv-00110-JCH Document 65 Filed 03/23/18 Page 21 of 21

                                           1Vledieal Records ReleaselReauest Form
                                                                                                                                   and
Patient Authorization ~'or Use or Disclosure of Protected Health information: As required by the Health . Portability
                            {H1PAA)    and CT  Law, a practice  may  not use or disclose idcntifiaile health information  without your
Accountability Act of 1995
                                                                                                                                    for
authorization exc$pt as provided in our Notice ofPriv$cy FracNces. Your completion of this form:means that you givo permission
uses and disclosure described below. Raview and complete this form entirety. You may     wish  to ask the person or entity you want  to
                                                                  information to be released, and  the purposes for the disclosure. Per
receive your information to complete those sections detailing the
DPH Regulation 192.14.43, if you are leaving the practice, we have the right to dsspose of yow' cords once copies have been
transferred.
I hereby authorize this medical pra~tic~
                                                {name)                           (address)
to release health information on patient named below:
Patient Namz(Paint)                                                                             D~ste of8ir1lt

Other acme eg;{maiden)                                                                          Tekpltone
                                                                       Cityl
Address                                                                State                                        ZfP

Date ofServicx Release                                                 OR,the entire Medical Record

Reason for release(must be noted};~Gr,~T'I B ~./
Send medical records to:          ~~i~s~   /~    L.       ~          Address ~ ~A~ ~~:' ~~~-
Clty   t ~f ~'~~l _~G~'f
                       l~                  $talc~Ztp                  Ph01tC ~~~~ ,~Q i~,~    ?~ Lam' 1 Fax C~.~2,~ ~~ f 2~.._3
                                                                                                                              !

DATE NEEDED BX: ~ 1'!'+ l~+.£:~~~'~'
                                 ~  ~~                 PEease note: We will do everything we.can to accommodate uurgent requests;
if you have an appoinpnent scheduled and need the records by that date, please tell us.

RES~RZCTIONS: I understand the recipient of this information may not use or disclose this information except for
the expressed purposes identified above; or such use or disclosure is specifically required or permitted bylaw.
I understand my medical record may include information relating to sexuaity transmitted disease; acquired
immunodeficiency syndrome (AIDS); human immunodefciency virus (HI'V); behavioraUmental health services;
and/or treatment fox alcohol and/or drug abuse. I request the following exclusions as indicated by my initials:
                                                                                             ,Sexually Transmitted Disease~~
                                       ,, HealthlPsychiatric
     ~ ,._~ AlcohoVDrug ~ ,BehaviorlMental
EXCLUSI4N(S):
HN/AIDS~,    Other~_;specify other
I understand Y have the right to request that services I have paid out-of-pocket, not be disclosed to my health plan.
This authorization is effective ~~f~,~ ~ ,'?..~t'~                  through~        S1.~ $ ~_,(dates must be specified).

Signature:                                            Print Name:                                       ~        Date:

 Ifthis form is completed by someone other than patient, please print name,address, and initial below to indicate relationship.
 Name:                                              Address:
 Guardian:               Conservator:           Parent:          Patient's Representative:
 i understand that I have the right to receive a copy ofthis authorization.
Refusal to Sign Authorization: I understand that:
• By declining to sign this form my medical {health care) treafinent and insurance benefits: will not be affected, however, my
    medical r0cords CANNOT be released.
• I may revoke this authorisation at any time by notifying this medical practice in writing as deser~bcd in the Notice of Privacy
   Practices. My revocation will not affecE actions taken prior to its receipt.
• If the recipient of my information is not a health care provider/health plan co~etcd by HIPAA, ttie information may be re-
    disclosed by.the recipient and no longer is protected by HIPAA. However, o#ber Slate or Fedcr~at laws may prohibit recipient from
    disclosing speaiaily protected information; such as abuse tr~atmcnt information, HIY/AFDS-related infornnation or
    psychiatric/mental health information. ~s referenced in section 20a (b}, CT Statutes, physicians may ch~g~ $.65 per page to
    copy medical records, plus any conveyance fees Ehe office is required to pay. Fees are payable in advance, by cash or credit card.
 Appro~►od 619; Revised t I/Z 1
